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                                           ORDERED.

          Dated: April 19, 2019




                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION
                                       www.flmb.uscourts.gov

In re :                                                             Case Number 6:18-bk-07259-CCJ
                                                                    Chapter 7
Deborah Ann Allard,
                             Debtor(s).
______________________________________/

                   ORDER AUTHORIZING RETENTION OF BK GLOBAL REAL
                  ESTATE SERVICES AND JANICE A. HALL AS LISTING AGENT

           THIS CASE came on for consideration without hearing on the Trustee’s (I) Application to Retain
BK Global Real Estate Services to Procure Consented Private Sale Pursuant to 11 U.S.C. §§ 327, 328,
and 330, and (II) Application to Retain Janice A. Hall of Hall Realty Group as Listing Agent and to
Procure Consented Private Sale Pursuant to 11 U.S.C. §§ 327, 328, and 330, (docket no. 33) filed April
16, 2019. Based upon the facts set forth in the application and declarations by BK Global Real Estate
Services and the Listing Agent, the Court concludes that BK Global Real Estate Services and the Listing
Agent do not hold or represent an interest adverse to the estate and are disinterested persons within the
meaning of § 101(14) of the Bankruptcy Code. The Court further concludes that BK Global Real Estate
Services and the Listing Agent are qualified to represent the Trustee and that the Court’s authorization of
their employment is in the best interest of the estate. Accordingly, it is
           ORDERED the Application is granted and the Court approves the retention of BK Global Real
Estate Services and Janice A. Hall of Hall Realty Group to sell real property located at 9A Nipmuc Trail,
North Providence, RI 02904, Parcel ID No. 23-4-23-9-9A. BK Global Real Estate Services and Listing
Agent shall be compensated in accordance with the BKRES Agreement and Listing Agreement,
respectively, and such compensation shall be subject to the provisions of § 330 of the
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Bankruptcy Code. BK Global Real Estate Services and Listing Agent shall be authorized to receive and
retain their fees from Secured Creditors at the successful closing of the sale of the Property without
necessity of further order of the Court. The estate shall, in no circumstance, be obligated to compensate
BKRES or Listing Agent in such event and BKRES and Listing Agent shall not have a claim against the
estate for any unpaid amounts. BKRES and Listing Agent, and anyone claiming by, through or under
either of them, shall only have recourse for recovering its fee to Secured Creditors. The estate shall have
no liability for any such claim. Compensation will be determined later in accordance with 11 U.S.C.
§ 330. The hourly rate is not guaranteed and is subject to review.

Special Counsel Kristen L. Henkel is directed to serve a copy of this Order on interested parties and file a
proof of services within 3 days of entry of the Order.
